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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                             )
In re:                                                       )    Chapter 11
                                                             )
MOUNTAIN EXPRESS OIL COMPANY, et al.,                        )    Case No. 23-90147 (DRJ)
                                                             )
                          Debtors. ¹                         )    (Jointly Administered)
                                                             )



                       SCHEDULES OF ASSETS AND LIABILITIES FOR
                         MEX RE-SE-MS LLC, (CASE NO. 23-90268)




¹ A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
Company’s principal place of business and the Debtors’ service address in these chapter 11 cases is 3650 Mansell
Road, Suite 250, Alpharetta, GA 30022.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90127 (DRJ)

                                      Debtors.1                        (Jointly Administered)

        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Mountain Express Oil Company, and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases (the “Debtors”), have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements”) in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”). The Debtors, with the assistance of their Chief Restructuring
Officer (“CRO”), prepared the Schedules and Statements in accordance with section 521 of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1007-1 of the Local Bankruptcy
Rules for the Southern District of Texas (the “Local Rules”).

       Michael Healy has signed each set of the Schedules and Statements. Mr. Healy serves as
the CRO of the Debtors. In reviewing and signing the Schedules and Statements, Mr. Healy has
necessarily relied upon the efforts, statements, and representations of the Debtors’ personnel and
professionals. Given the scale of the Debtors’ business and complexity of their businesses covered
by the Schedules and Statements, Mr. Healy has not (and could not have) personally verified the
accuracy of each such statement and representation, including statements and representations
concerning amounts owed to creditors.

        In preparing the Schedules and Statements, the Debtors and their professionals relied on
financial data derived from the Debtors’ books and records that was available at the time of such
preparation. Although the Debtors have made every reasonable effort possible to date to ensure
the accuracy and completeness of the Schedules and Statements, subsequent information or
discovery may result in material changes to the Schedules and Statements. As a result, inadvertent
errors or omissions may exist. For the avoidance of doubt, the Debtors hereby reserve their rights
to amend and supplement the Schedules and Statements as may be necessary or appropriate.



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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.



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        The Debtors and their CRO, agents, and attorneys do not guarantee or warrant the accuracy
or completeness of the data that is provided herein, and shall not be liable for any loss or injury
arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or
otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
delivering the information contained herein. While commercially reasonable efforts have been
made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their CRO, agents, and attorneys expressly do not undertake any obligation
to update, modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized, except as required
by applicable law. In no event shall the Debtors or their officers, employees, agents, or
professionals be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtors or their officers, employees,
agents, attorneys, or their professionals are advised of the possibility of such damages.

Global Notes and Overview of Methodology

1.      Description of Cases. On March 18, 2023, (the “Petition Date”), each of the Debtors filed
        voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the Bankruptcy
        Court. The Debtors are operating their businesses and managing their property as debtors
        in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On March
        20, 2023, an order was entered directing procedural consolidation and joint administration
        of these chapter 11 cases [Docket No. 17]. Notwithstanding the joint administration of the
        Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
        Statements. The information provided herein, except as otherwise noted, is reported as of
        the Petition Date. These Global Notes apply to the Schedules and Statements filed by the
        58 Debtors including the lead Debtor, the Debtors associated with the Debtors’ fuel supply
        business, and certain of the Debtors associated with the Debtors’ leasehold interests; they
        do not apply to the remaining 87 Debtors which primarily are engaged in the business of
        the Debtors’ C-Stores, travel centers, and related retail operations across the country (the
        “Retail Debtors”). Pursuant to the Order (I) Extending Time to File (A) Schedules of Assets
        and Liabilities; (B) Schedules of Current Income and Expenditures; (C) Schedules of
        Executory Contracts and Unexpired Leases, (D) Statements of Financial Affairs, and (E)
        Bankruptcy Rule 2015.3 Reports, and (II) Granting Related Relief [Docket No. 527],
        entered on June 14, 2023, the Court extended the deadline by which the Retail Debtors
        must file their Schedules and Statements until July 21, 2023.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict with these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements based upon the information available in
        the Debtors books and records; however, as noted above, inadvertent errors or omissions
        may exist. The Debtors reserve all rights to amend and supplement the Schedules and

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        Statements as may be necessary or appropriate. Nothing contained in the Schedules and
        Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind
        with respect to these chapter 11 cases, including, but not limited to, any rights or claims of
        the Debtors against any third party or issues involving substantive consolidation, equitable
        subordination, or defenses or causes of action arising under the provisions of chapter 5 of
        the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws
        to recover assets or avoid transfers. Any specific reservation of rights contained elsewhere
        in the Global Notes does not limit in any respect the general reservation of rights contained
        in this paragraph.

        a.         No Admission. Nothing contained in the Schedules and Statements is intended or
                   should be construed as an admission or stipulation of the validity of any claim
                   against the Debtors, any assertion made therein or herein, or a waiver of the
                   Debtors’ rights to dispute any claim or assert any cause of action or defense against
                   any party.

        b.         Recharacterization. Notwithstanding that the Debtors have made reasonable
                   efforts to correctly characterize, classify, categorize, or designate certain claims,
                   assets, executory contracts, unexpired leases, and other items reported in the
                   Schedules and Statements, the Debtors nonetheless may have improperly
                   characterized, classified, categorized, or designated certain items. The Debtors thus
                   reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                   reported in the Schedules and Statements at a later time as is necessary and
                   appropriate.

        c.         Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                   Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                   “executory” or “unexpired” does not constitute an admission by the Debtors of the
                   legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                   rights to recharacterize or reclassify such claim or contract.

        d.         Claims Description. Any failure to designate a claim on a given Debtor’s
                   Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                   constitute an admission by the Debtor that such amount is not “disputed,”
                   “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                   offsets or defenses to, any claim reflected on their respective Schedules and
                   Statements on any grounds, including, without limitation, liability or classification,
                   or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
                   “unliquidated” or object to the extent, validity, enforceability, priority, or
                   avoidability of any claim. Moreover, listing a claim does not constitute an
                   admission of liability by the Debtor against which the claim is listed or by any of
                   the Debtors. The Debtors reserve all rights to amend their Schedules and
                   Statements as necessary and appropriate, including, but not limited to, with respect
                   to claim description and designation.

        e.         Estimates and Assumptions. The preparation of the Schedules and Statements
                   required the Debtors to make reasonable estimates and assumptions with respect to

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                   the reported amounts of assets and liabilities, the amount of contingent assets and
                   contingent liabilities on the date of the Schedules and Statements, and the reported
                   amounts of revenues and expenses during the applicable reporting periods. Actual
                   results could differ from such estimates.

        f.         Intellectual Property Rights. Exclusion of certain intellectual property should not
                   be construed to be an admission that such intellectual property rights have been
                   abandoned, have been terminated or otherwise expired by their terms, or have been
                   assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction. Conversely, inclusion of certain intellectual property should not be
                   construed to be an admission that such intellectual property rights have not been
                   abandoned, have not been terminated or otherwise expired by their terms, or have
                   not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction.

        g.         Insiders. The listing of a party as an insider for purposes of the Schedules and
                   Statements is not intended to be, nor should it be, construed an admission of any
                   fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                   expressly reserved. Information regarding the individuals listed as insiders in the
                   Schedules and Statements has been included for informational purposes only and
                   such information may not be used for the purposes of determining control of the
                   Debtors, the extent to which any individual exercised management responsibilities
                   or functions, corporate decision-making authority over the Debtors, or whether
                   such individual could successfully argue that he or she is not an insider under
                   applicable law, including the Bankruptcy Code and federal securities laws, or with
                   respect to any theories of liability or any other purpose.

                   In the circumstance where the Schedules and Statements require information
                   regarding “insiders”, the Debtors have included information with respect to the
                   individuals who the Debtors believe are included in the definition of “insider” set
                   forth in section 101(31) of the Bankruptcy Code during the relevant time periods.

4.      Methodology.

        a.         Basis of Presentation. The Schedules and Statements do not purport to represent
                   financial statements prepared in accordance with Generally Accepted Accounting
                   Principles in the United States (“GAAP”), nor are they intended to be fully
                   reconciled to the financial statements of each Debtor. The Schedules and
                   Statements contain unaudited information that is subject to further review and
                   potential adjustment. The Schedules and Statements reflect the Debtors’
                   reasonable efforts to report the assets and liabilities of each Debtor on an
                   unconsolidated basis except as noted on the applicable Schedules/Statements or
                   herein.

        b.         Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                   may properly be disclosed in response to multiple parts of the Statements and



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                   Schedules. To the extent these disclosures would be duplicative, the Debtors have
                   determined to only list such assets, liabilities and prepetition payments once.

        c.         Net Book Value. In certain instances, current market valuations for individual
                   items of property and other assets are neither maintained by, nor readily available
                   to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                   and Statements reflect estimates of net book values as of the Petition Date. Market
                   values may vary materially from net book values. It would be prohibitively
                   expensive, unduly burdensome, and an inefficient use of estate assets for the
                   Debtors to obtain the current market values of all their property. Accordingly, the
                   Debtors have indicated in the Schedules and Statements that the values of certain
                   assets and liabilities are undetermined. Amounts ultimately realized may vary
                   materially from net book value (or whatever value was ascribed). Accordingly, the
                   Debtors reserve all rights to amend, supplement, or adjust the asset values set forth
                   herein. Also, assets that have been fully depreciated or that were expensed for
                   accounting purposes either do not appear in these Schedules and Statements or are
                   listed with a zero-dollar value, as such assets have no net book value.

        d.         Property and Equipment. Unless otherwise indicated, owned property and
                   equipment are valued at net book value. The Debtors may lease furniture, fixtures,
                   and equipment from certain third-party lessors. To the extent possible, any such
                   leases are listed in the Schedules and Statements. Nothing in the Schedules and
                   Statements is, or should be construed as, an admission as to the determination of
                   the legal status of any lease (including whether any lease is a true lease or a
                   financing arrangement), and the Debtors reserve all rights with respect thereto.

        e.         Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
                   and postpetition periods based on the information and research conducted in
                   connection with the preparation of the Schedules and Statements. As additional
                   information becomes available and further research is conducted, the allocation of
                   liabilities between the prepetition and postpetition periods may change.

        f.         Undetermined Amounts. The description of an amount as “unknown” is not
                   intended to reflect upon the materiality of such amount.

        g.         Unliquidated Amounts. Amounts that could not be fairly quantified by the
                   Debtors are scheduled as “unliquidated” or “unknown.”

        h.         Totals. All totals that are included in the Schedules and Statements represent totals
                   of all known amounts. To the extent there are unknown or undetermined amounts,
                   the actual total may be different than the listed total.

        i.         Intercompany Claims. Receivables and payables among the Debtors and among
                   the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                   Schedule E/F, respectively, per the Debtors’ books and records. The listing of any
                   amounts with respect to such receivables and payables is not, and should not be
                   construed as, an admission of the characterization of such balances as debt, equity,


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                   or otherwise. These claims are subject reconciliation and the amounts listed may
                   be materially misstated and subject to material adjustment upon the conclusion of
                   a reconciliation.

        j.         Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                   reasonable efforts to locate and identify guarantees in their executory contracts,
                   unexpired leases, secured financings, and other such agreements. Where
                   guarantees have been identified, they have been included in the relevant Schedule
                   G with respect to leases and Schedule H with respect to credit agreements for the
                   affected Debtor or Debtors. The Debtors may have inadvertently omitted
                   guarantees embedded in their contractual agreements and may identify additional
                   guarantees as they continue their review of their books and records and contractual
                   agreements. In the ordinary course of the Debtors’ business and lending
                   relationships, parties have required certain subsidiary Debtors’ lease obligations to
                   be guaranteed by Debtor Mountain Express Oil Company. Due to the high number
                   of such obligations, they are not listed individually here. The Debtors reserve their
                   rights to amend the Schedules and Statements if additional guarantees are
                   identified.

        k.         Excluded Assets and Liabilities. The Debtors have excluded the following
                   categories of assets and liabilities from the Schedules and Statements: certain
                   deferred rent charges, accounts, or reserves recorded only for purposes of
                   complying with the requirements of GAAP; and certain accrued liabilities
                   including, but not limited to, employee benefits. Other immaterial assets and
                   liabilities may also have been excluded.

        l.         Liens. The inventories, property, and equipment listed in the Schedules and
                   Statements are presented without consideration of any liens.

        m.         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        n.         Setoffs. The Debtors incur setoffs and net payments in the ordinary course of
                   business. Such setoffs and nettings may occur due to a variety of transactions or
                   disputes including, but not limited to, intercompany transactions, counterparty
                   settlements, deposits received from customer, and amounts due from customers that
                   may also be vendors. These normal, ordinary course setoffs and nettings are due
                   to the nature of the Debtors customer and supplier relationships. Such setoffs and
                   other similar rights may have been accounted for when scheduling certain amounts,
                   these ordinary course setoffs are not independently accounted for, and as such, are
                   or may be excluded from the Debtors’ Schedules and Statements. In addition, some
                   amounts listed in the Schedules and Statements may have been affected by setoffs
                   or nettings by third parties of which the Debtors are not yet aware. The Debtors
                   reserve all rights to challenge any setoff and/or recoupment rights that may be
                   asserted.

5.      Specific Schedules Disclosures.



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        a.         Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                   Prepayments. Details with respect to the Debtors’ cash management system and
                   bank accounts are provided in the Debtors' Emergency Motion for Entry of Interim
                   and Final Orders (I) Authorizing Maintenance of Existing Bank Accounts; (II)
                   Authorizing Continuance of Existing Cash Management System; (III) Granting
                   Limited Waiver of Section 345(b) Deposit Requirements; (IV) Authorizing
                   Continued Performance of Intercompany Transactions and Funding; and (V)
                   Granting Related Relief [ [Docket No. 52] (the “Cash Management Motion”) and
                   any orders of the Bankruptcy Court granting the Cash Management Motion. As
                   described therein, the Debtors utilize a centralized cash management system.

                   Additionally, the Bankruptcy Court, pursuant to the Order (I) Approving the
                   Proposed Adequate Assurance Deposit for Future Utility Services, (II) Prohibiting
                   Utility Providers from Altering, Refusing, or Discontinuing Services, (III)
                   Approving the Proposed Adequate Assurance Procedures for Resolving Adequate
                   Assurance Requests, and (IV) Granting Related Relief [Docket No. 83], has
                   authorized the Debtors to provide adequate assurance of payment for future utility
                   services. Such deposits are not listed on Schedule A/B, Part 2, which has been
                   prepared as of the Petition Date.

        b.         Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                   in Incorporated and Unincorporated Businesses, including any Interest in an
                   LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                   been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                   fact that the fair market value of such ownership is dependent on numerous
                   variables and factors, and may differ significantly from their net book value.

        c.         Schedule A/B, Part 5 - Inventory – Fuel inventory is monitored by the Debtors’
                   automatic fuel gauge readers, which record daily inventory amounts. Fuel
                   inventory is valued using the weighted average cost method for each fuel grade and
                   type.

        d.         Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                   Collectibles; Part 8 – Fixed Asset Listing. The Debtors track fixed assets and
                   depreciation in a fixed asset system external to their accounting system. Generally,
                   fixed asset descriptions may include very broad descriptions (e.g., “Computer
                   Hardware”), may include a vendor name in lieu of an asset description, may have
                   multiple line items associated with a single asset if multiple general ledger
                   transactions occurred for a single asset, or may combine multiple assets into one
                   line item on the schedules. Assets have been categorizing based on the Debtors’
                   general ledger asset classifications and categorizations included in the company’s
                   reconciliations of the fixed asset accounts. Dollar amounts are presented net of
                   accumulated depreciation and other adjustments.

        e.         Schedule A/B Part 9 – Real Property – Leased Property. As detailed in the
                   Declaration of Michael Healy in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 57], for the past several years, in structuring their

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                   operations, the Debtors would acquire Fueling Centers and Travel Centers and
                   simultaneously re-sell them to third-party investment vehicles (the “Landlords”)
                   who then lease the Fueling Centers and Travel Centers back to the Debtors pursuant
                   to long-term agreements (collectively, the “Prime Leases”). Certain of the Fueling
                   Centers (the “Operated Fueling Centers”) and Travel Centers (the “Operated Travel
                   Centers” and, together with the Operated Fueling Centers, the “Operated Sites”) are
                   operated by the Debtors (“Operated Dealers”), while certain sites are “dealered out”
                   and subleased to third-parties (the “Network Dealers” and, together with the
                   Operated Dealers, the “Dealers”) to operate a Fueling Center on the site (the
                   “Network Dealer Sites” and, together with the Operated Sites, the “Controlled
                   Sites”). The Debtors’ Fuel Distribution Business provides fuel to both Controlled
                   Sites and sites in which the Debtors hold no real property interests (the “Non-
                   Controlled Sites”).

                   The Debtors do not own the real estate underlying any of the Controlled Sites;
                   rather, certain Debtors lease the Controlled Sites from a third-party Landlords and
                   then sublease the Controlled Sites to either a third-party Network Dealer or a Debtor
                   entity in the case of Operated Sites.

                   Consequently, in the ordinary course of the Debtors’ business, the Debtors
                   frequently enter into and terminate real property leases, both as a tenant and as a
                   sub-landlord. For certain locations, a Debtor may be party to an unexpired lease
                   that, as of the Petition Date, was either not formally terminated or for which a
                   formal termination is not available, but for which as of the Petition Date, the
                   Debtors do not pay any rent and effectively do not occupy the premises. Certain of
                   those leases may be listed in the Debtors’ response to Question 55 out of an
                   abundance of caution. In addition, it is possible that the Debtors have a leasehold
                   interest in property that, as of the Petition Date, was not reduced to a formal, written
                   lease agreement; any such interests are not listed in response to Question 55.

                   With respect to owned real estate, the Debtors’ professionals have undertaken
                   property searches in jurisdictions in which the Debtors have indicated they have, or
                   historically have had, business operations. However, due to potential lag times in
                   updating and inaccuracies in electronic recordkeeping, among other factors, the
                   Debtors cannot warrant that their presentation of owned real property as of the
                   Petition Date is complete. The Debtors reserve the right to amend their listing of
                   owned real property as new information becomes available.

        f.         Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                   impairments and other adjustments.

                   Causes of Action Against Third Parties (whether or not a lawsuit has been filed).
                   In the ordinary course of their business, the Debtors may issue to Dealers certain
                   notices of default in connection with a Dealer’s failure to meet its obligations under
                   the contractual relationship between the parties. These notices may be pending or
                   resolved as of the Petition Date. To the extent the notices are not followed by the
                   commencement of formal litigation, the Debtors’ claims arising therefrom are not

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                   listed in response to this item, but their estates’ rights to retain and pursue such
                   claims are reserved.

                   Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                   including Counterclaims of the Debtor and Rights to Setoff Claims. In the
                   ordinary course of their businesses, the Debtors may have accrued, or may
                   subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                   refunds with their customers and suppliers. Additionally, certain of the Debtors
                   may be party to pending litigation in which the Debtors have asserted, or may
                   assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                   Because certain of these claims are unknown to the Debtors and not quantifiable as
                   of the Petition Date, they may not be listed on Schedule A/B, Part 11. Also, as
                   described above, in the ordinary course of their business, the Debtors may issue to
                   Dealers certain notices of default in connection with a Dealer’s failure to meet its
                   obligations under the contractual relationship between the parties. To the extent
                   the notices are not followed by the commencement of formal litigation, the Debtors’
                   claims arising therefrom are not listed in response to this item, but their estates’
                   rights to retain and pursue such claims are reserved.

        g.         Schedule D - Creditors Who Have Claims Secured by Property. Except as
                   otherwise agreed pursuant to the Final Order Pursuant to 11 U.S.C. §§ 105, 361,
                   362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local
                   Rule 4001-1 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-
                   Petition Financing, (II) Granting Liens and Providing Super-Priority
                   Administrative Expense Status, (III) Granting Adequate Protection, and (IV)
                   Granting Related Relief [Docket No. 332] (the “Final DIP Order”) or other
                   stipulation or order entered by the Bankruptcy Court, the Debtors reserve their
                   rights to dispute or challenge the validity, perfection, or immunity from avoidance
                   of any lien purported to be granted or perfected in any specific asset to a secured
                   creditor listed on Schedule D. Moreover, although the Debtors have scheduled
                   claims of various creditors as secured claims, the Debtors reserve all rights to
                   dispute or challenge the secured nature of any such creditor’s claim or the
                   characterization of the structure of any such transaction or any document or
                   instrument related to such creditor’s claim. In the ordinary course of their business
                   operations, the Debtors may be required to post bonds for motor fuel taxes, sales
                   taxes, environmental liabilities, and other purposes, which the Debtors may satisfy
                   by posting cash or issuing letters of credit. Such bonds are not scheduled here.

                   The descriptions provided in Schedule D are intended only to be a summary.
                   Reference to the applicable agreements and other related relevant documents is
                   necessary for a complete description of the collateral and the nature, extent, and
                   priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                   mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                   claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                   creditors that are otherwise satisfied or discharged by other entities.

                   The Debtors have not included on Schedule D parties that may believe their claims

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                   are secured through setoff rights or inchoate statutory lien rights. Although there
                   are multiple parties that hold a portion of the debt included in the secured facilities,
                   only the administrative agents have been listed for purposes of Schedule D.

        h.         Schedule E/F - Creditors Who Have Unsecured Claims.

                   Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
                   Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
                   Relief [Docket No. 82] (the “Taxes Order”), the Debtors have been granted the
                   authority to pay, in their discretion, certain tax liabilities that accrued prepetition.
                   The Debtors are in the process of reconciling their potential tax liabilities in various
                   jurisdictions and, consequently, such liabilities are indicated as “Unliquidated,” and
                   any amounts listed constitute the Debtors’ good faith estimates of the amounts of
                   such liabilities. To the extent the Debtors paid any such prepetition taxes in
                   accordance with the Taxes Order, the associated claims are not listed in the
                   Debtors’ Schedules.

                   Furthermore, pursuant to the Order Authorizing the Debtors to (I) Pay and/or
                   Honor Prepetition Wages, Salaries, Incentive Payments, Employee Benefits, and
                   Other Compensation; (II) Remit Withholding Obligations and Deductions; (III)
                   Maintain Employee Compensation and Benefits Programs and Pay Related
                   Administrative Obligations; and (IV) Have Applicable Banks and Other Financial
                   Institutions Receive, Process, Honor, and Pay Certain Checks Presented for
                   Payment and Honor Certain Fund Transfer Requests [Docket No. 85] (the “Wages
                   Order”), the Debtors received authority to pay certain prepetition obligations,
                   including to pay employee wages and other employee benefits, in the ordinary
                   course of business. To the extent the Debtors paid any such prepetition wage and
                   employee benefit obligations in accordance with the Wages Order, the associated
                   claims are not listed in the Debtors’ Schedules.

                   The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
                   the Debtors that such claim or any portion thereof is entitled to priority status.

                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from each individual Debtor’s books and
                   records. The Debtors made a reasonable attempt to set forth their unsecured
                   obligations, although the actual amount of claims against the Debtors may vary
                   from those liabilities represented on Schedule E/F, Part 2. The listed liabilities may
                   not reflect the correct amount of any unsecured creditor’s allowed claims or the
                   correct amount of all unsecured claims.

                   Schedule E/F, Part 2, contains information regarding threatened or pending
                   litigation involving the Debtors. The amounts for these potential claims are listed
                   as “unknown” and are marked as contingent, unliquidated, and disputed in the
                   Schedules and Statements.




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                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Such prepetition amounts, however,
                   may be paid in connection with the assumption or assumption and assignment of
                   an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                   not include claims that may arise in connection with the rejection of any executory
                   contracts or unexpired leases

                   As of the time of filing of the Schedules and Statements, the Debtors may not have
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtors reserve their rights to amend
                   Schedules D and E/F if and as they receive such invoices.

        i.         Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                   efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                   omissions may have occurred.

                   Listing a contract or agreement on Schedule G does not constitute an admission
                   that such contract or agreement is an executory contract or unexpired lease or that
                   such contract or agreement was in effect on the Petition Date or is valid or
                   enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                   status, or enforceability of any contracts, agreements, or leases set forth in Schedule
                   G and to amend or supplement such Schedule as necessary. Certain of the leases
                   and contracts listed on Schedule G may contain renewal options, guarantees of
                   payment, indemnifications, options to purchase, rights of first refusal, and other
                   miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
                   separately on Schedule G. In addition, the Debtors may have entered into various
                   other types of agreements in the ordinary course of their business, such as
                   supplemental agreements, amendments, and letter agreements, which documents
                   may not be set forth in Schedule G.

                   Certain of the agreements listed on Schedule G may have expired or terminated
                   pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                   The Debtors reserve all rights to dispute or challenge the characterization of any
                   transaction or any document or instrument related to a creditor’s claim.

                   In some cases, the same supplier or provider may appear multiple times in an
                   individual Debtor’s Schedule G. Multiple listings, if any, reflect distinct
                   agreements between the applicable Debtor and such supplier or provider. In
                   addition, in some cases, an agreement may appear on the Schedule G of more than
                   one Debtor, in which event each such Debtor is party to said agreement.

                   Certain agreements may, by their terms, have been made between one Debtor and
                   a third-party counterparty but performed under in the ordinary course by a different
                   Debtor. In such case, the agreement is listed in the Schedule G of the Debtor that
                   appears on the face of such agreement. Omission of such agreement from the


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                   Schedule G of another Debtor does not constitute an admission that such Debtor
                   does not have rights and/or obligations under such agreement or that the Debtor
                   counterparty to such agreement is the Debtor on whose Schedule G such agreement
                   is listed.

                   The listing of any contract on Schedule G does not constitute an admission by the
                   Debtors as to the validity of any such contract. The Debtors reserve the right to
                   dispute the effectiveness of any such contract listed on Schedule G or to amend
                   Schedule G at any time to remove any contract.

                   Omission of a contract or agreement from Schedule G does not constitute an
                   admission that such omitted contract or agreement is not an executory contract or
                   unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                   any such omitted contracts or agreements are not impaired by the omission.

6.      Specific Statements Disclosures.

        a.         Statements, Part 2, Question 6 - Setoffs. Due to the nature of the Debtors’
                   business, the Debtors and their vendors and other counterparties to business
                   relationships implement setoffs in the ordinary course on a daily basis, including
                   obligations to and from fuel suppliers, fuel dealers and fuel vendors. Such
                   numerous, regularly-occurring setoff transactions have not been scheduled.

        b.         Statements, Part 2, Question 4 and Part 13, Question 30 - Payments,
                   Distributions, or Withdrawals Credited or Given to Insiders. Distributions by
                   the Debtors to their directors and officers are listed on the attachment to Question 4.
                   Certain of the Debtors’ directors and executive officers received distributions net
                   of tax withholdings in the year preceding the Petition Date. The amounts listed
                   under Questions 4 and 30 reflect the gross amounts paid to such directors and
                   executive officers, rather than the net amounts after deducting for tax withholdings.

                   Certain insiders have been provided with company credit cards in connection with
                   their responsibilities to the Debtors. Payments on account of charges made using
                   such cards have been compiled and presented on a monthly basis. The Debtors
                   reserve the right to characterize any such payments as constituting benefits
                   provided to the insider incurring the corresponding charges.

                   Similarly, the Debtors have satisfied certain automobile lease expenses for vehicles
                   utilized by certain insiders.

        c.         Statements, Part 3 – Legal Actions or Assignments. In the ordinary course of
                   their business, the Debtors may be subject to various administrative activities in the
                   numerous jurisdictions in which they operate relating to various regulated products
                   that may be involved or circumstances that may arise regularly in the Debtors’
                   operations. These administrative activities may involve issues relating to tobacco
                   sales, zoning issues, alcohol regulations and other aspects of the Debtors’ day-to-
                   day business. In some jurisdictions, the process of notifying the relevant Debtor of
                   a compliance issue requires the commencement of a formal legal action, even if an

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                   operational citation is quickly resolved or no further action is undertaken. The
                   Debtors have not included such actions in connection with this item.

        d.         Statements, Part 7 – Previous Locations. The information presented includes the
                   Debtors’ previous office locations. However, the information presented does not
                   include the numerous locations to which each of the Debtors may have previously
                   delivered fuel or gas station locations in which the Debtors may have held an
                   interest.

        e.         Statements, Part 11 – Property the Debtor Holds or Controls that the Debtor
                   Does Not Own. In the ordinary course of business, the Debtors are in possession
                   of numerous pieces of equipment, such as Visi-coolers, lottery machines, propane
                   cages, ice machines/coolers, and automated teller machines. Typically, these items
                   are located at a Debtor’s place of business incidental to a services or other
                   agreement to which a Debtor may be a party. Consequently, the Debtors do not
                   separately track or collect information regarding each item that may be utilized in
                   the performance of such agreements and, as such, these items are not listed here.
                   At certain of the Debtors’ locations, in connection with their contractual
                   relationships with fuel suppliers, the Debtors are consigned fuel.

        f.         Statements, Part 12 – Details About Environmental Information. The Debtors
                   have operated for a lengthy period of time and periodically have: (a) been party to
                   administrative and judicial proceedings under or concerning environmental laws;
                   (b) received notification from governmental units of potential liability under, or
                   potential violations of, environmental laws; and (c) notified governmental units of
                   potential releases of hazardous materials in compliance with applicable
                   environmental laws. In many instances, the Debtors no longer have active
                   operations in a particular jurisdiction or with respect to a particular property and no
                   longer possess the relevant records, or the records are incomplete or not readily
                   accessible or reviewable. In certain instances, statutory document retention periods
                   have expired. Further, some individuals who once possessed responsive
                   information are no longer employed by the Debtors. For all of these reasons, it is
                   impossible to identify and supply all of the requested information that may be
                   responsive to Statements #22 – 24. The Debtors’ responses to Statements #22 – 24
                   are also limited to identifying circumstances in which governmental agencies have
                   alleged in writing that particular operations of the Debtors are in violation of
                   environmental laws and thus do not cover: (i) periodic information requests,
                   investigations, or inspections from governmental units concerning compliance with
                   environmental laws where such information requests, investigations, or inspections
                   are not followed by a formal written Notice of Violation or similar formal notice;
                   or (ii) routine reports and submissions made by the Debtors to governmental units
                   in compliance with applicable environmental laws. Moreover, in certain
                   jurisdictions in which the Debtors operate, governmental units’ notice to the
                   Debtors of the Debtors’ compliance with environmental laws may be informal,
                   even following a formal Notice of Violation. The Debtors acknowledge the
                   possibility that information related to proceedings, governmental notices, and
                   reported releases of hazardous materials responsive to Statements #22–24 may be

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                   discovered subsequent to the filing of the Schedules and Statements. The Debtors
                   reserve the right to supplement or amend this response if additional information
                   becomes available. These responses address proceedings, governmental notices,
                   and reported releases of hazardous materials related to the primary applicable
                   environmental laws and do not include proceedings, governmental notices, or
                   reported releases related to non-environmental laws, such as occupational safety
                   and health laws or general transportation laws.

                   With respect to the Debtors’ responses to Statement #22, the Debtors have made
                   commercially reasonable efforts to provide responsive information for proceedings
                   commencing January 1, 2022, through the Petition Date.

                   With respect to the Debtors’ responses to Statement #23, the Debtors have made
                   commercially reasonable efforts to provide responsive information for notifications
                   that (a) were received between January 1, 2022 and the Petition Date, whether or
                   not such notifications were resolved as of the Petition Date; and (b) were received
                   prior to January 1, 2022 to the extent such notifications were not resolved as of the
                   Petition Date.

                   With respect to the Debtors’ responses to Statement #24, the Debtors have made
                   commercially reasonable efforts to provide responsive information for notifications
                   made to any governmental unit concerning any potential release of hazardous
                   material at a location in which a Debtor had an interest as of the Petition Date
                   (whether or not the Debtors themselves made such notification) where (a) such
                   notification was made between January 1, 2020 and the Petition Date, whether or
                   not the subject matter of the notice was resolved as of the Petition Date; and (b)
                   such notification was made prior to January 1, 2020 to the extent the subject matter
                   of the notice was not resolved as of the Petition Date. Certain information provided
                   by the Debtors in response to Statement #24 has been obtained from applicable
                   governmental units.

        g.         Statements, Part 13 – Details About the Debtor’s Business or Connections to
                   Any Business. The dates indicated are those during which the Debtor had an
                   interest, and not the dates of operation of the business. The Debtors have
                   undertaken a commercially reasonable search of their books and records to address
                   this item, however, prior to the time the current principals assumed ownership of
                   the business approximately six years ago, there may have been additional, now-
                   defunct entities that are not reasonably known to the Debtors. The Debtors lack the
                   books and records to determine whether WHRG-LA2, LLC or its subsidiaries,
                   acquired from Brothers Petroleum in 2021, formerly had any interest in other
                   entities prior to the Debtors’ acquisition of such entities.

                                  Right to Amend and/or Supplement

       The Debtors reserve the right to amend and/or supplement the Schedules and Statements
as may be necessary or appropriate.

                                           General Disclaimer

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        The Debtors have prepared the Schedules and Statements based on the information
reflected in the Debtors’ books and records. However, inasmuch as the Debtors’ books and records
have not been audited, the Debtors cannot warrant the absolute accuracy of these documents. The
Debtors have made a diligent effort to complete these documents accurately and completely. To
the extent additional information becomes available, the Debtors will amend and supplement the
Schedules and Statements.

        The Debtors and their officers, employees, agents, attorneys and financial advisors do not
guarantee or warrant the accuracy, completeness or timeliness of the data that is provided herein
and shall not be liable for any loss or injury arising out of or caused, in whole or in part, by the
acts, errors or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating or delivering the information contained herein. The
Debtors and their officers, employees, agents, attorneys and financial advisors expressly do not
undertake any obligation to update, modify, revise or re-categorize the information provided herein
or to notify any third party should the information be updated, modified, revised or re-categorized,
except as required by applicable law. In no event shall the Debtors or their officers, employees,
agents, attorneys and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused.




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Fill in this information to identify the case:

Debtor Name: In re : MEX RE-SE-MS LLC

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                                             Check if this is an
Case number (if known): 23-90268 (DRJ)                                                                                                                                                       amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets±Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                        $                  0.00
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                        $                  0.00
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                        $                  0.00
     1c. Copy line 92 from Schedule A/B .............................................................................................................................



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                        $                  0.00
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $                  0.00
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        +$                 0.00
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................


4. Total liabilities
                                                                                                                                                                                        $                  0.00
     Lines 2 + 3a + 3b ..............................................................................................................................................................




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                              Page 1 of 1
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Fill in this information to identify the case:

Debtor Name: In re : MEX RE-SE-MS LLC

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                             Check if this is an
Case number (if known): 23-90268 (DRJ)                                                                                       amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor¶s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor¶s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

      5   No. Go to Part 2.
          Yes. Fill in the information below.

      All cash or cash equivalents owned or controlled by the debtor                                                Current value of debtor¶s interest


   2. Cash on hand
                                                                                                                    $


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)              Type of account   Last 4 digits of account number

                                                                                                                    $



   4. Other cash equivalents (Identify all)
                                                                                                                    $


  5. Total of Part 1
                                                                                                                    $                           0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                     Page 1 of 12
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  Debtor:    MEX RE-SE-MS LLC                                                                       Case number (if known):       23-90268
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
    5 No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                          Current value of debtor¶s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
                                                                                                                          $


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
                                                                                                                          $


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                                         $                         0.00




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 12
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   Debtor:    MEX RE-SE-MS LLC                                                                             Case number (if known):      23-90268
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

     5 No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                          Current value of debtor¶s
                                                                                                                                          interest

11. Accounts receivable
                                     Description          face amount                doubtful or uncollectible accounts
    11a.     90 days old or less:                         $                         -$                                       =..... Î     $




    11b.     Over 90 days old:                            $                         -$                                       =..... Î     $


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                               $                      0.00




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                  Page 3 of 12
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  Debtor:    MEX RE-SE-MS LLC                                                                       Case number (if known):           23-90268
              Name


Part 4:       Investments

13. Does the debtor own any investments?

    5 No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method used
                                                                                                                    Current value of debtor¶s interest
                                                                                              for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

                                                                                                                              $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                    % of ownership:

                                                                                                                              $



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

                                                                                                                                  $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                       $                           0.00




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                Page 4 of 12
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  Debtor:     MEX RE-SE-MS LLC                                                                               Case number (if known):   23-90268
                 Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
     5 No. Go to Part 6.
            Yes. Fill in the information below.

                                                                                Net book value of debtor's
                                                           Date of the last                                      Valuation method used          Current value of debtor¶s
     General description                                                        interest
                                                           physical inventory                                    for current value              interest
                                                                                (Where available)

19. Raw materials
                                                                                $                                                               $


20. Work in progress
                                                                                $                                                               $


21. Finished goods, including goods held for resale
                                                                                $                                                               $


22. Other inventory or supplies
                                                                                 $                                                              $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                                    $                          0.00


24. Is any of the property listed in Part 5 perishable?
            No
            Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Description                      Book value $                         Valuation method                        Current value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                    Page 5 of 12
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   Debtor:   MEX RE-SE-MS LLC                                                                               Case number (if known):       23-90268
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
          Yes. Fill in the information below.

                                                                            Net book value of debtor's     Valuation method
     General description                                                    interest                       used for current           Current value of debtor¶s interest
                                                                            (Where available)              value
 28. Crops²either planted or harvested
                                                                            $                                                         $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                            $                                                         $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                            $                                                         $


 31. Farm and fishing supplies, chemicals, and feed
                                                                            $                                                         $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                            $                                                         $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                              $                               0.00


 34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor¶s property stored at the cooperative?
                No
                Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Description                      Book value $                            Valuation method                       Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
          No
          Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 6 of 12
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  Debtor:   MEX RE-SE-MS LLC                                                                           Case number (if known):   23-90268
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     5No. Go to Part 8.
       Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                  Valuation method used for           Current value of debtor¶s
     General description                                             interest
                                                                                                  current value                       interest
                                                                     (Where available)
 39. Office furniture

                                                                     $                                                                $


 40. Office fixtures

                                                                     $                                                                $


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

                                                                     $                                                                $


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

                                                                     $                                                                $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                              $                       0.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
       No
       Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                Page 7 of 12
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  Debtor:    MEX RE-SE-MS LLC                                                                             Case number (if known):           23-90268
              Name


Part 8:       Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
      5 No. Go to Part 9.
            Yes. Fill in the information below.


     General description                                                 Net book value of debtor's
                                                                         interest                     Valuation method used
                                                                                                                            Current value of debtor¶s interest
     Include year, make, model, and identification numbers (i.e.,                                     for current value
     VIN, HIN, or N-number)                                              (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                         $                                                              $



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
                                                                      $                                                             $


  49. Aircraft and accessories
                                                                     $                                                              $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
                                                                     $                                                              $



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                       $                               0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes

 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 8 of 12
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   Debtor:    MEX RE-SE-MS LLC                                                                                 Case number (if known):   23-90268
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
          No. Go to Part 10.
        5Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of                                   Valuation method   Current value of
                                                                                           debtor's interest
        Assessor Parcel Number (APN), and type of property (for       debtor¶s interest in                                   used for current   debtor¶s interest
        example, acreage, factory, warehouse, apartment or office     property                                               value
                                                                                           (Where available)
        building), if available.

               55.1 See Schedule A/B 55 Attachment                                             $        Undetermined         N/A                $       Undetermined


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $                   0.00


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
        5No
          Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        5No
          Yes




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                       Page 9 of 12
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  Debtor:   MEX RE-SE-MS LLC                                                                           Case number (if known):   23-90268
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
      No. Go to Part 11.
    5Yes. Fill in the information below.

                                                                       Net book value of debtor's                             Current value of debtor¶s
                                                                       interest                        Valuation method
    General description                                                                                                       interest
                                                                       (Where available)               used for current value

60. Patents, copyrights, trademarks, and trade secrets
            60.1 See Global Notes                                      $                                                         $


61. Internet domain names and websites
            61.1 None                                                  $                                                          $


62. Licenses, franchises, and royalties
            62.1 None                                                  $                                                          $


63. Customer lists, mailing lists, or other compilations
            63.1 None                                                  $                                                          $


64. Other intangibles, or intellectual property
            64.1 None                                                  $                                                          $


65. Goodwill
            65.1 None                                                  $                                                          $


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                           $                   0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    5No
      Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    5No
      Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                              Page 10 of 12
                         Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 28 of 41
   Debtor:   MEX RE-SE-MS LLC                                                                                 Case number (if known):       23-90268
             Name


Part 11:     All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    5No. Go to Part 12.
      Yes. Fill in the information below.

                                                                                                                                        Current value of debtor¶s
                                                                                                                                        interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount           doubtful or uncollectible accounts
                                                           $                           -$                                   =.....   Î $


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
                                                                                        Tax year                                        $


73. Interests in insurance policies or annuities
                                                                                                                                        $



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
                                                                                                                                        $

                  Nature of claim

                  Amount requested                         $



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
                                                                                                                                        $

                  Nature of claim

                  Amount requested                          $



76. Trusts, equitable or future interests in property
                                                                                                                                        $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
                                                                                                                                        $


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                $                           0.00



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
      No
      Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 11 of 12
                               Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 29 of 41
     Debtor:     MEX RE-SE-MS LLC                                                                                                          Case number (if known):       23-90268
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                         Current value of real
                                                                                                      personal property                        property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $                         0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $                         0.00

82. Accounts receivable. Copy line 12, Part 3.                                                        $                         0.00

83. Investments. Copy line 17, Part 4.                                                                $                         0.00

84. Inventory. Copy line 23, Part 5.                                                                  $                         0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $                         0.00
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $                         0.00

88. Real property. Copy line 56, Part 9.............................................................................................Î          $                         0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $                         0.00

90. All other assets. Copy line 78, Part 11.                                                          $                         0.00

                                                                                                      $                          0.00
91. Total. Add lines 80 through 90 for each column...............................91a.                                                   + 91b. $                         0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................    $                   0.00




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                      Page 12 of 12
                               Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 30 of 41


 Fill in this information to identify the case:

 Debtor Name: In re : MEX RE-SE-MS LLC

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                          Check if this is an
 Case number (if known): 23-90268 (DRJ)                                                                                                                   amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor¶s property?
   5 No. Check this box and submit page 1 of this form to the court with debtor¶s other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.

Part 1:        List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                               Column A
                                                                                                                                                                Column B
   secured claim, list the creditor separately for each claim.                                                                     Amount of claim
                                                                                                                                                                Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                                supports this claim
                                                                                                                                   value of collateral.

       2.1 Creditor¶s name                                              Describe debtor¶s property that is subject to a lien

                                                                                                                               $                            $
             Creditor's Name

             Creditor¶s mailing address
                                                                        Describe the lien
             Notice Name


             Street

                                                                        Is the creditor an insider or related party?
                                                                            No
                                                                            Yes
             City                  State             ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor¶s email address, if known                              No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
                      No
                      Yes. Have you already specified the
                      relative priority?

                           No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
             Page, if any.                                                                                                     $




 Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              Page 1 of 2
                       Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 31 of 41


Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

                                                                                                               Line
  Name



  Notice Name


  Street




  City                                         State                          ZIP Code



  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 2 of 2
                             Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 32 of 41


 Fill in this information to identify the case:

 Debtor Name: In re : MEX RE-SE-MS LLC

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                  Check if this is an
 Case number (if known): 23-90268 (DRJ)                                                                                                           amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    5No. Go to Part 2.
      Yes. Go to Line 2.




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim               Priority amount

          2.1 Priority creditor¶s name and mailing address            As of the petition filing date, the claim is: $                         $
                                                                      Check all that apply.
             Creditor Name
                                                                        Contingent
                                                                        Unliquidated
             Creditor's Notice name
                                                                        Disputed


             Address                                                  Basis for the claim:




             City                     State        ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                   Is the claim subject to offset?
             number                                                                                                       No

             Specify Code subsection of PRIORITY unsecured                                                               Yes
             claim: 11 U.S.C. § 507(a) ()




 Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 1 of 4
                          Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 33 of 41


Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

     3.1 Nonpriority creditor¶s name and mailing address                           As of the petition filing date, the claim is:   $
          None                                                                     Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
                                                                                   Basis for the claim:
          Address




          City                     State            ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                      No
          Last 4 digits of account                                                    Yes

          number




 Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 4
                         Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 34 of 41


Part 3:        List Others to Be Notified About Unsecured Claims
    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
       collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
       next page.


      Name and mailing address                                                   On which line in Part 1 or Part 2 is the      Last 4 digits of account
                                                                                 related creditor (if any) listed?             number, if any


                                                                                 Line
      Name                                                                         Not Listed.Explain

      Notice Name


      Street




      City                       State                ZIP Code



      Country




  Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 3 of 4
                            Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 35 of 41

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a.   Total claims from Part 1                                                            5a.     $                        0.00


5b.   Total claims from Part 2                                                            5b. ¬   $                        0.00




5c.   Total of Parts 1 and 2                                                              5c.     $                        0.00
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 4
                          Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 36 of 41


 Fill in this information to identify the case:

 Debtor Name: In re : MEX RE-SE-MS LLC

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                   Check if this is an
 Case number (if known): 23-90268 (DRJ)                                                                                                            amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor¶s other schedules. There is nothing else to report on this form.
      5Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
      5Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1                                                                                              See Schedule G Attachment
              lease is for and the nature
              of the debtor¶s interest                                                                   Name


                                                                                                         Notice Name



              State the term remaining                                                                   Address



              List the contract number of
              any government contract




                                                                                                         City                              State                ZIP Code


                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
                         Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 37 of 41


Fill in this information to identify the case:

Debtor Name: In re : MEX RE-SE-MS LLC

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                           Check if this is an
Case number (if known): 23-90268 (DRJ)                                                                                                     amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
     5No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


             Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                                 Check all schedules
             Name                               Mailing address                                               Name
                                                                                                                                                 that apply:

       2.1                                                                                                                                         D
                                                Street

                                                                                                                                                   E/F


                                                                                                                                                   G



                                                City                    State                  ZIP Code



                                                Country




 Official Form 206H                                                  Schedule H: Codebtors                                                             Page 1 of 1
                        Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 38 of 41
Fill in this information to identify the case:

Debtor Name: In re : MEX RE-SE-MS LLC

United States Bankruptcy Court for the: Southern District of Texas

Case number (if known): 23-90268 (DRJ)



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual¶s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


            Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


           5     Schedule A/B: Assets±Real and Personal Property (Official Form 206A/B)

           5     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


           5     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           5     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

           5     Schedule H: Codebtors (Official Form 206H)

           5     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration




           I declare under penalty of perjury that the foregoing is true and correct.


           Executed on      06/18/2023                                                  µ   / s / Michael Healy

                            MM / DD / YYYY                                                  Signature of individual signing on behalf of debtor




                                                                                            Michael Healy
                                                                                            Printed name

                                                                                            Chief Restructuring Officer

                                                                                            Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 39 of 41

                                            In re: MEX RE-SE-MS LLC
                                                Case No. 23-90268
                                                  Schedule A/B 55
                                                   Real property
                                        Nature and          Net book value
                                        extent of           of debtor's     Valuation method
                                        debtor's interest   interest (where used for current      Current value of
Description of property                 in property         available)      value                 debtor's interest
Real Property: 1021 Dudley Rimes Rd.,   Leased Rental
Magnolia, MS                            Property              Undetermined         N/A                Undetermined
Real Property: 1034 Woodrow Wilson      Leased Rental
Avenue, Jackson, MS                     Property              Undetermined         N/A                Undetermined
Real Property: 12515 Three River Rd.,   Leased Rental
Gulfport, MS                            Property              Undetermined         N/A                Undetermined
Real Property: 1711 E Northside Dr.,    Leased Rental
Clinton, MS                             Property              Undetermined         N/A                Undetermined
Real Property: 214 W. Presley Blvd.,    Leased Rental
McComb, MS                              Property              Undetermined         N/A                Undetermined
Real Property: 24281 MS-53, Saucier,    Leased Rental
MS                                      Property              Undetermined         N/A                Undetermined
Real Property: 2932 US-82 W.,           Leased Rental
Greenville, MS                          Property              Undetermined         N/A                Undetermined
Real Property: 3103 MS-16 E,            Leased Rental
Carthage, MS                            Property              Undetermined         N/A                Undetermined
Real Property: 4405 Robinson Road,      Leased Rental
Jackson, MS                             Property              Undetermined         N/A                Undetermined
Real Property: 4775 Clinton Blvd.,      Leased Rental
Jackson, MS                             Property              Undetermined         N/A                Undetermined
Real Property: 5308 Clinton Blvd.,      Leased Rental
Jackson, MS                             Property              Undetermined         N/A                Undetermined
Real Property: 5491 Watkins Dr.,        Leased Rental
Jackson, MS                             Property              Undetermined         N/A                Undetermined
Real Property: 612 Hwy 90, Waveland,    Leased Rental
MS                                      Property              Undetermined         N/A                Undetermined
Real Property: 7086 US-51, Goodman,     Leased Rental
MS                                      Property              Undetermined         N/A                Undetermined
                                                  TOTAL:     Undetermined                TOTAL:      Undetermined




                                                    Page 1 of 1
                                       Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 40 of 41
                                                                               In re: MEX RE-SE-MS LLC
                                                                                   Case No. 23-90268
                                                                                       Schedule G
                                                                        Executory Contracts and Unexpired Leases


       Name of other parties with whom the                                                                                         State what the contract or lease
       debtor has an executory contract or                                                                                         is for and the nature of the       State the term
Line   unexpired lease                       Creditor Notice Name      Address 1                      City           State Zip     debtor's interest                  remaining
                                                                                                                                   FORM OF MASTER LEASE
                                             4COURT HOLDINGS LLC &     1730 S. WHITE HORSE                                         AGREEMENT | PRIME LEASE
   2.1 4Court Holdings LLC                   HUNTER SMITH              STATION RD. SUITE 1            MEMPHIS        TN    38117   (SINGLE SITE)                      Ends 3/1/2043
                                             4COURT HOLDINGS LLC &     1730 S. WHITE HORSE                                         MASTER LEASE AGREEMENT |
   2.2 4COURT HOLDINGS LLC                   HUNTER SMITH              STATION RD. SUITE 1            MEMPHIS        TN    38117   PRIME LEASE (SINGLE SITE)          Ends 3/31/2043
       CC ACCESSORIES LLC & CYNTHIA                                                                                                COMMERCIAL LEASE |
   2.3 SPIRES                                                          593 N VALLEY FALLS ROAD JACKSON               MS    39209   SUBLEASE                           Undetermined
       COUNTRY FOODMART LLC &                                                                                                      COMMERCIAL LEASE |
   2.4 SUKHWINDER SINGH                                                ADDRESS ON FILE                                             SUBLEASE                           Undetermined
       COUNTRY FOODMART LLC &                                                                                                      COMMERCIAL LEASE |
   2.5 SUKHWINDER SINGH                                                ADDRESS ON FILE                                             SUBLEASE                           Undetermined
       FASTWAY WOODROW WILSON INC &                                                                                                COMMERCIAL LEASE |
   2.6 MOHAMMED NAJI ALTUWATTY                                         1217 CHERRY STREET             VICKSBURG      MS    39183   SUBLEASE                           Undetermined
                                                                                                                                   COMMERCIAL LEASE |
   2.7 GK BROTHER LLC & SUKHBIR SINGH                                  10441 ROAD 562                 PHILADELPHIA   MS    39350   SUBLEASE                           Undetermined
       GSS HOLDINGS 1 LLC & SUKHRANJAN                                                                                             COMMERCIAL LEASE |
   2.8 SINGH MULTANI                   GSS HOLDINGS 1 LLC              11398 Wellington Lane          Hammond        LA    70403   SUBLEASE                           Undetermined
       GSS HOLDINGS 1 LLC & SUKHRANJAN                                                                                             FUEL SUPPLY AGREEMENT |
   2.9 SINGH MULTANI                                                   11398 Wellington Lane          Hammond        LA    70403   FUEL SUPPLY AGREEMENT              Undetermined
       GSS HOLDINGS 1 LLC & SUKHRANJAN                                                                                             COMMERCIAL LEASE |
  2.10 SINGH MULTANI                                                   ADDRESS ON FILE                                             SUBLEASE                           Undetermined
       GSS HOLDINGS LLC & SUJHRANJAN                                                                                               FUEL SUPPLY AGREEMENT |
  2.11 SINGH MULTANI                                                   11398 Wellington Lane          Hammond        LA    70403   FUEL SUPPLY AGREEMENT              Undetermined
       GSS HOLDINGS LLC & SUKHRANJAN                                                                                               COMMERCIAL LEASE |
  2.12 SINGH MULTANI                                                   11398 WELLINGTON LANE          HAMMOND        LA    70403   SUBLEASE                           Undetermined
       MOHAMMED NAJI ALTUWATTY &                                                                                                   ACKNOWLEDGEMENT LETTER |
  2.13 FASTWAY WOODROW WILSON INC                                                                                                  FUEL SUPPLY AGREEMENT              Undetermined

       MOUNTAIN DATX001 & MOUNTAIN
       DATX003 & MOUNTAIN PORTFOLIO
       OWNER LA 2 LLC & MOUNTAIN
       PORTFOLIO OWNER LA 2 LLC &
       MOUNTAIN PORTFOLIO OWNER NJ
       LLC & MOUNTAIN PORTFOLIO OWNER                                                                                              AMENDED AND RESTATED
       PA LLC & MOUNTAIN PORTFOLIO                                                                                                 AMENDED AND RESTATED
       OWNER NC 2 LLC & MOUNTAIN      Oak Street Real Estate Capital   30 N LaSalle Street Suite                                   MASTER LEASE AGREEMENT |
  2.14 PORTFOLIO OWNER OK LLC         LLC                              4140                           CHICAGO        IL    60602   PRIME LEASE (MULTI-SITE)           Ends 12/31/2047

       MOUNTAIN DATX001 LLC & MOUNTAIN
       BSTX001 LLC & MOUNTAIN DATX003
       LLC & MOUNTAIN PORTFOLIO OWNER
       LA 3 LLC & MOUNTAIN PORTFOLIO
       OWNER LA 2 LLC & MOUNTAIN                                                                                                   FIRST AMENDMENT TO AMEND
       PORTFOLIO OWNER NJ LLC &                                                                                                    AND RESTATED MASTER
       MOUNTAIN PORTFOLIO OWNER NC 2 Oak Street Real Estate Capital    30 N LaSalle Street Suite                                   LEASE AGREEMENT [11
  2.15 LLC & MOUNTAIN PORTFOLIO OWNER LLC                              4140                           CHICAGO        IL    60602   DEBTORS] |               Undetermined




                                                                                        Page 1 of 2
                                         Case 23-90147 Document 572 Filed in TXSB on 06/18/23 Page 41 of 41
                                                                                        In re: MEX RE-SE-MS LLC
                                                                                            Case No. 23-90268
                                                                                                Schedule G
                                                                                 Executory Contracts and Unexpired Leases


         Name of other parties with whom the                                                                                              State what the contract or lease
         debtor has an executory contract or                                                                                              is for and the nature of the       State the term
Line     unexpired lease                       Creditor Notice Name             Address 1                      City         State Zip     debtor's interest                  remaining

       MOUNTAIN PORTFOLIO OWNER
       ALARMS LLC & MOUNTAIN PORTFOLIO
       OWNER AROKMS LLC & MOUNTAIN
       PORTFOLIO OWNER IA LLC &
       MOUNTAIN PORTFOLIO OWNER IN LLC                                                                                                    FIRST AMENDMENT TO
       & MOUNTAIN PORTFOLIO OWNER KS                                                                                                      AMENDED AND RESTATED
       LLC & MOUNTAIN PORTFOLIO OWNER Oak Street Real Estate Capital            30 N LaSalle Street Suite                                 MASTER LEASE AGREEMENT |
  2.16 LA 8 LLC                        LLC                                      4140                           CHICAGO      IL    60602   PRIME LEASE (MULTI-SITE)           Undetermined
                                                                                                                                          RE: LETTER AGREEMENT RE
       Mountain Portfolio Owner ALARMS LLC &                                    30 N LaSalle Street Suite                                 TENANT’S CODE COMPLIANCE
  2.17 Oak Street Real Estate Capital LLC                                       4140                           CHICAGO      IL    60602   OBLIGATIONS                        Undetermined
                                                                                                                                          LETTER AGREEMENT RE
         MOUNTAIN PORTFOLIO OWNER                                                                                                         TENANTS CODE COMPLIANCE
         AROKMS LLC & OAK STREET REAL                                           30 N LaSalle Street Suite                                 OBLIGATIONS | PURCHASE AND
  2.18   ESTATE CAPITAL                                                         4140                           CHICAGO      IL    60602   SALE AGREEMENT                     Undetermined
         MOUNTAIN PORTFOLIO OWNER                                                                                                         LETTER AGREEMENT RE
         AROKMS LLC & OAK STREET REAL                                           30 N LaSalle Street Suite                                 TENANTS ENVIROMENTAL
  2.19   ESTATE CAPITAL                                                         4140                           CHICAGO      IL    60602   OBLIGATIONS                        Undetermined
         MOUNTAIN PORTFOLIO OWNER OK 3
         LLC & MOUNTAIN PORTFOLIO OWNER
         LA 8 LLC & MOUNTAIN PORTFOLIO
         OWNER MS 2 LLC & MOUNTAIN                                                                                                        AMENDED AND RESTATED
         PORTFOLIO OWNER PA 3 LLC &                                                                                                       MASTER LEASE AGREEMENT
         MOUNTAIN PORTFOLIO OWNER              Oak Street Real Estate Capital   30 N LaSalle Street Suite                                 (29 SITES) | PRIME LEASE
  2.20   AROKMS LLC                            LLC                              4140                           CHICAGO      IL    60602   (MULTI-SITE)                       Undetermined
         THIND PETRO SS 1 INC & KULJIT         THIND PETRO SS 1 INC &                                                                     COMMERCIAL LEASE |
  2.21   SINGH & SUPREET KAUR                  KULJIT SINGH                     705 HUNTINGTON COVE            MADISON      MS    39110   SUBLEASE                           Undetermined
         THIND PETRO SS 1 INC & KULJIT                                                                                                    COMMERCIAL LEASE |
  2.22   SINGH & SUPREET KAUR                                                   ADDRESS ON FILE                                           SUBLEASE                           Undetermined
         THIND PETRO SS 1 INC & KULJIT                                                                                                    FUEL SUPPLY AGREEMENT |
  2.23   SINGH & SUPREET KAUR                                                   ADDRESS ON FILE                                           FUEL SUPPLY AGREEMENT              Undetermined
         THIND PETRO SS 1 INC & KULJIT                                                                                                    FUEL SUPPLY AGREEMENT |
  2.24   SINGH & SUPREET KAUR                                                   ADDRESS ON FILE                                           FUEL SUPPLY AGREEMENT              Undetermined




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